Case 3:18-cv-01617-MEM Document 1-6 Filed 08/16/18 Page 1 of 12

EXHIBIT E
Case 3:18-cv-01617-MEM Document 1-6 Filed 08/16/18 Page 2 of 12

$-2017-000025-0290 O11 2/2017 207141 PM Pgiof ti Trans ID: MCS201720244

ee noe pee te PI ae og ea

, COMPLAINT - SUMMONS, hai

£ ee i i le 1 Ns : cee et Be
PONeNe Dp nee THE STATE OF NEW JERSEY

¥S,
ANTONIO L GUTIERREZ

ADDRESS) 093 g2ND STRERT, #1

roa

ENTRAL MUN CT WR

71 HUDSON STREET '

HACKENSACK Ng 07601-0000
NI 07047-0000

NORTH BERGEN
DEFENDANT INFORMATION
sm: M EYECOLOR; BROWN Dom, HT a
‘3 LO, &, SERRATE DLSTATE: wa
BECURITY | Jeeta =. GBF
TELEPHONE th
HACKRAACK Ma O7601 LVESCAN PCN ® .
| By certification or on oath, tha complainant says that io the best of his/her knowledge, Information and bellef the named
MUN CT BERGEN COUNTY BERGEN County, Nadi:
OR ABOUT, DURING AND BETWEEN,

defendant on of about 09/29/2016 in CENTRAL

WITHIN THE JURISDICTION OF THIS COURT,

SEPTEMBER 1, 2016 AND OCTOBER 31, 2016, ANTONIO GUTIBRREZ DID COMMIT THEFT BY
NQ@ OR RETAINING PROPERTY OR MONEY WITH A VALUS OF 675,000.00 OR

PURPOSELY OHTAINI
MORE, BELONGING TO NEXTGEAR CAPITAL, UPON AGREEMENT OR ‘SUBJECT TO A KNOWN LEGAL
BR DISPOSITION AND DID DBAL WITH SAID

OBLIGATION TO MAKE SPECIFIED PAYMENT OR OTH

PROPERTY OR MONEY AS HIS OWN AND DID FAIL TO MAKE THE REQUIRED PAYMENT OR
DISPOSITION; A VIOLATION OF N.J.8.A. 2C:20-9, A 2ND DEGREE CRIME.

WITHIN THE JURISDICTION OF THIS COURT, ON OR ABOUT, DURING AND BETHEEN,
SEPTEMBER 1, 2016 AND OCTOBER 31, 2016, ANTONIO GUTIERREZ DID ENGAGE IN
TRANSACTIONS INVOLVING PROPERTY, NAMBLY MONIES ({PUNDS) AND/OR UNITED STATES
CURRENCY IN BXCESS OF 6500,000.00, KNOWN OR WHICH A REASONABLE PERSON WOULD
BELIEVE TO BE DERIVED FROM CRIMINAL ACTIVITY, NAMELY THER THEFT AY FAILURE TO
MAKE LAWFUL DISPOSITION OF MONIES TO NEXTGEAR CAPITAL AND DEFRAUDING SECURED

in violation of:
Orginal Charge 4) 20; 20-49 g) 2Cr21-25B (2) (A) » 20;21-12

on

Amended Charge

CERTIFICATION:
I cartify that the foregoing statamants made by me are true. {em aware that Jf any of the foregoing statements mado by me are wiltully false, ~

Jam subject fo punishment.
hStgted: DANNY LIM ___ Date: 04/17/2027
The complaining witness fs a law enforcemont officer and @ hudiolal probable cause determination js not required prior to the

leevanee of this Complalnt-Summons.
atthe following address:

SUMMONS;
YOU ARE HEREBY SUMMONED to appeer before the Superior Court in the county
of ‘ i
Ifyou fall (o appear on the date and at the me etated below, a warrant may ba Jsaued for your arrest,

Data of Arrest: Appearance Date; 02/01/2017 ms! gg: 30am Phone:

DANNY LIM 01/17/2017

Signature of Person Issuing Summona Dale
= D Related Traffic Tickets | GQ Sertous Personal Injury/ Death
(2 Domestic Violence ~Confldentlal of Ottrer Complaints I edt
Special conditions of release: 2: 1 ft gee ee
Q No phone, mall or other personal contact w/victim : “ORIG iNALY
, Ue ea og
tae pees wineciatt _ ‘, _—s

G Wo possession frearms/weapons :
CQ Other (5 3 NOT as |
(specify) i etd SET.

== oe

Case 3:18-cv-01617-MEM Document 1-6 Filed 08/16/18 Page 3 of 12

§-2077-000025-0290 01/12/2017 2:07:41 PM Pg 2 of 11 Trans [D; MCS201720244

--——
COMPLAINT - SUMMONS
—SOneL ART NUMBER ~
0290 S 2017 000025 026 | Y ANTONIO L GUTIERREZ

CREDITORS, WITH THS INTENT TO FACILITATE OR PROMOTE THE CRIMINAL ACTIVITY OR DID
SO KNOWING THAT THE TRANSACTION WAS DESIGNED IN WHOLE OR IN PART TO CONCEAL OR
DISGUISE THE NATURE, LOCATION, SOURCE, OWNERGHIP OR CONTROL OF THE PROPERTY

DERIVED FROM CRIMINAL ACTIVITY, A VIOLATION OF N.J.S.A. 2C:21-25B(2)A, A 187

DEGREE CRIME,
WITHIN THE JURISDICTION OF THIS COURT, ON OR ABOUT, , DURING AND BETWEEN,
| SEPTEMBER 1, 2016 AND OCTOBER 31, 2016, ANTONIO GUTIERREZ DID DESTROY, REMOVE,

CONCEAL, KNCUMBER, TRANSFER OR OTHERWISE DEAL WITH PROPERTY SUBJECT TO A
SECURITY INTEREST, NAMELY NEXTGEAR CAPITAL, WITH PURPOSE TO HINDER ENFORCEMENT

OF THAT INTEREST; A VIOLATION OF N.J.S.A, 2C:21-12, A 4TH DEGREE CRIME.

Original Charge ~ - |
‘Amended Charge | —

~ COMPLAINT - SUMMONS

Page tof? | __ CDR 4172017 |

Case 3:18-cv-01617-MEM Document 1-6 Filed 08/16/18 Page 4 of 12

8-2017-000025-0290 01/12/2017 2:07:41 PM Pg 3 of 11 Trans ID: M8207 720244

‘
“COMPLAINT — SUMMONS § (court Aétiony:
. *, COMPLAINTNUMBER®
eT eae Tene STATE V.
Rapes se ANTONIO G GUTIERRES
FTA Ball iebarnnion Around Balt Set: § bys, —~| 0 Bal Recog, Attechad
Pe RGR Cpoket | wie bat ena
Place Commuittatt, County Prosecutor:
Dafendant Desbes Councet:
Aopesrence. 02/03/2017 | U Advised of Rights by O Yee O No
Prosecuting Attorney Information [ Defensa Counsel Information
“Name: Name:
aa | ——— Pe | AR “aA
Orlginal Charge th 20;20-9 4 90:21-255 (2) (A) 9 20:21-12
Amended Charge - |
Walver Indt/dury / sa secncns pppoe roe atch peecaes —_—
PlealDate of Pion Plewt Date: Plow: Date; Plex: Date
Adjudication ¢ sa coda) | " Code: * Date: Code Dale: Code: Dale:
dall Term _ | Jul ye ca | Seat f [ Suen ow |
Probelion Terr . Sure. ine Sup in |
“Gand. Discharge Term
|Community Service =:
Df. Suspension Tem
Fines/Costs Fines: Conta: Fince: Cosip: Anes: Coats: 3k
VCCRISNSF Voce: SNEF; voce: BNGE; vocs: SNGF:
DEDR/Lab Fee DEOR; LAB: EDR: Lam DED: te =
cD Fee/Drug Ed Fad OD DAR cm CARP: cor DAE: |
DV Surch/Other Fees | Other mo Omen m™ Othe:
Restitution
Banotclary__
Miscelia Inforr Aci ts, Companion Complaints, Co-Dafandants, Case Notes; ‘opm * Finding Codes
2- Mol Guilty
3+ Dienlased = Othor
4 aay Sagat
6 = Darlssed Leck of Prosesutioa
ieee ce Maton Vio Aleg
Related Traffle Tckols and Complaints: Se Ie tia
M— Dieralased. Mediation
P -CiaplesedPieg Agreomant
8 ~ Disposed al Super
ORS SGNATURE

Case 3:18-cv-01617-MEM Document 1-6 Filed 08/16/18 Page 5 of 12

_, S20 17.900025-0280 01/12/2017 2:07: 44 PM Pq? 4 of 14 Trans ID: MC6201720244

[ og
%, C OMPLAINT = SUMMONS: éCouri Actos’.
| STATE V.
- ; a ANTONIO L GUTIERREZ
FTA Ball Rocmaniicn Date Ball Set Amount Ball Sek §, bys OF Bal Reng, Atiechad
Released | ROR, med | ¢ Dats Relsrred to
on Ball Dalat | wo Ball mas 5 ;
Date of First Defendant Deskas Counsel
Auaenretnat 02/01/2017 | 0 Advised of Rights by O ves O Ka
Prossouting Attorney information Defanse Gounes! Information
Name: Name! be
| oe Other =i foe, ee | | Char
Original Charge
Amended Charge _
Waiver IndtiJury %
Plaa/Date of Plea Phaa: Oata: Plea: Datet Plea; Data:
Findin;
Adjudication ¢ sae cade) — Date Mode Coc Date
all Tetm Loman | = Lelie |
Probation Term
Cond, Discharge Term
Community Service
D/L Suspension Term
Finas/Costs Fines: Costs: Fines: Costs: Fines; Costs:
VCCB/SNSF veos: BNSF; Yeon: BNSF: Vee: SNSt
DEDR/Lab Fee EDR: tabs aul EDR: LAB: | BOR: Las
CD Fae/Orug Ed Fnd | oo ong om Agr: oo: mee
DV Surch/Other Fees | ov: oe Omen. mL
Restitution
Banofeleyg 5
Miscellanaous Information, Adjournmente, Companton Complainia, Co-Dafandants, Caso Notes: i omy ne Codes
ace
fc olsmased Re
6 — Dlsmluseci Lack of Prospoution
7 ~Dlanigond ~ Pron Req
Related Traffic Tickots and Complaints; D ee DHsovouon
M~Dismised Mediation
5 Suge Sele
‘W- Dismissed-Faisa 10
“— ~ ~ ~, ROMP: RRR
| SEDeeS SENATORS —— ee cae ‘9 ot RLS

Case 3:18-cv-01617-MEM Document 1-6 Filed 08/16/18 Page 6 of 12

$-2017-000025-0290 04/12/2017 2:07:41 PM Pg Goti1 Trans !D: MCS201720244

NT: SUMMONS [DEFENDANT'S CORY

ey rn ‘THE STATE OF NEW JERSEY
0290: | . S*
Saran > eee ANTONIO L GUTIERREZ

‘CENTRAL MUN CT BERGEN COUNTY ") ADDRESS;

71 HUDSON STREET 1003'82ND STREET, #1

HACKENSACK Ng 07601-0000

201-336-6222 county or: BERGEN NORTH BERGEN NI 07047-0000
%°  4| Tf INFOR are

Fol CHARGES [are | rae
SEX: M EYECOLOR: BROW 008. RS
ORIVER'S Lit, #, oa OL STATE: fo

NAME: : SOCIAL SECURITY &
: ‘C1 RET,
es = TELEPHONE #: =
LIVEBCAN PON @:
higher knowledge, information and bellef the narned

By cerlificallon or on calh, the complainant says that to the best of
defendant on or about 09/29/2016 In te ae HUN CT BERGEN COUNTY , BERGEN County, Nu did;

WITHIN THE JURISDICTION OF 5 COURT, ON OR ASOUT, DURING AND BETWEEN,
SEPTEMBER 1, 2016 AND OCTOBER 31, 2016, ANTONIO GUTIERREZ DID COMMIT THEFT BY
PURPOSELY OBTAINING OR RETAINING PROPERTY OR MONRY WITA A VALUE OF $75,000.00 OR
MORE, BRLONGING TO NEXTGEAR CAPITAL, UPON AGREEMENT OR SUBJECT TO A KNOWN LEGAL
OBLIGATION TO MAKE SPECIFIED PAYMENT OR OTHBR DISPOSITION AND DID DEAL WITH SAID
PROPBRTY OR MONEY AS HIS OWN AND DID FAIL TO MAKE THE REQUIRED PAYMENT OR

DISPOSITION; A VIOLATION OF N.J.S.A, 2C:20-9, A 2ND DEGREE CRIME.

WITHIN THR JURISDICTION OF THIS COURT, ON OR ABOUT, DURING AND BETWEEN,
SEPTEMBER 1, 2016 AND OCTOBER 31, 2016, ANTONIO GUTIERREZ DID ENGAGE IN
TRANGACTIONS INVOLVING PROPERTY, NAMELY MONIES (PUNDE) AND/OR UNITED STATES
|. CURRENCY IN EXCESS OF $500,000.00, IQVOWN OR WHICH A REASONABLE PERSON WOULD
BELIEVE TO BE DERIVED FROM CRIMINAL ACTIVITY, NAMELY THE THEFT BY FAILURE TO
MAKE LAWFUL DISPOSITION OF MONIES TO NEXTGEAR CAPITAL AND DEFRAUDING SECURED

In violation of: a aa

Grginal Charge dx) 201 20-T [) 2C:27-255(2) (a) [9 201 21-12

Amended Charge “ — TT __
CERTIFICATION:

{certify that the foregoing statements made by ma are true. | am aware that Hany of tha feragolng statements made by me are wilfully false,

} am subject to punishment,

DANNY LIM pata: 01/17/2027

Signed:

The complaining witness [y a law enforcement officer and a judiglat probable cause determination Is not required prior to the
‘esuanco of this Complaint-Surnimons.

SUMMONS:
YOU ARE HEREBY SUMMONED fo appear before the Supewtor Court in the counly of atthe following wdldrass:

Ifyou fall to appear on the date and at the lime stated below, a warrant may-be Issued for your arrest,
Appoarance Date: 99/91/2017 ‘WneiQO:30AN Phone:

} Oste of Arrest:
} pees DANNY LIM o1/17/2017
Signature of Person Inauing Summons Dale
O Related Traffic Tickets Q Serlous Personal Infury/ Death
OQ Domestic Violence — Confidantial or Other Complaints Involved

_ conte nT: sUnion PENDANTS dORY}

Special conditions of release:

i No phone, mall or ather personal contact wivictim
i G No possession flrearms/veapons
C) Other (specify):

ee 1 ea

‘Nucoiae Blac,

Page dbry

Case 3:18-cv-01617-MEM Document 1-6 Filed 08/16/18 Page 7 of 12

§-2017-000025-0290 01/12/2017 2:07:41 PM Pg6 of 11 11 Trans ID: MGS201720244

ide Wheat :

COMPLAIN: SUNWONS, (DEEEND ANS’ G@RY)

~STROMALARET NABER
merit ie . Any Re| STATE V.
02 te OD, 20.47 ‘0000255 ANTONIO lL GUTIERREZ

CREDITORS, WITH THe INTRNT TT) PACILITATS OR PROMOTE THE CRIMINAL ACTIVITY OR DID

30 KNOWING THAT THE TRANSACTION WAS DESIGNED IN WHOLE OR IN PART TO CONCEAL OR
DISGUISE THE NATURE, LOCATION, SOURCE, QWNERSHIP OR CONTROL OF THE PROPERTY
DERIVED FROM CRIMINAL ACTIVITY, A VIOLATION OF N.J.,A. 20:21-25B(2}A, A 18ST

DEGREE CRIME,
WITHIN THE JURISDICTION OF THIS COURT, ON OR ABOUT, DURING AND BETWEEN,
SEPTEMBER 1, 3016 AND OCTOBER 31, 2016, ANTONIO GUTIERREZ DID DESTROY, REMOVE,

CONCEAL, ENCUMBER, TRANSFER OR OTHERWISE DBAL WITH PROPERTY SUBJECT TO A
SECURITY INTEREST, NAMBLY NEXTGHAR CAPITAL, WITH PURPOSE TO HINDER ENFORCENENT

OF THAT INTBREST, A VIOLATION OF N.d.S3.A, 2€:21-12, A 4TH DEGREE CRIME.

‘Original Charge | =
Amended Charge | . ~ m 1. ee

zs aimee emaomsemesemainmenuniibe SLITS ON TEN cE.

a ot 7 Takvtstoen|

Case 3:18-cv-01617-MEM Document 1-6 Filed 08/16/18 Page 8 of 12

S-2017-000025-0280 01/12/2017 2:07:41 PM Po 7ofit Trans 1D: MCS201720244

ee
RETURN OF SERVICE INFORMATION
COMPLAINT NUWBER THE STATE OF NEW JERSEY
“0290 | S 2017 | 000025 VS.
ANTONIO L GUTIERREZ
CENTRAL MUN CT BERGEN COUNTY ADORESS :
71 HUDSON STREET 1003 82ND STREET, fii
HACKENSACK Ng 07601-0000
201-336-6222 o unty_» BERGEN NORTH BERGEN __ No _07047-0000
| @of CHARGES joonerr “TS | POLICE CASER: DEFENDANT INFORMATION oo ee
i SEX: M EYECOLOR: BROWN OO: Gy
COMPLAINANT Danny GIN DRIVGR'S LIC, A eccaueaneteaE ty DLETATE: No
NAME: 20 MALY STRERT SOCIAL SECURITY # enenepettiaer = SBI #:
ROOM 21.5 TELEPHONE #:
BACKBNGACK wr 07601 LIVESGAN PCN

By certification or on oath, the complainant says that to the best of his/her knowledge, Information and belieftha named — did:

defendant on or about 09/29/2016 In CENTRAL MUN Cr BERGEN COUNTY , BERGEN County, Nd

WITHIN THE JORISDICTION OF THIS COURT, ON OR ABOUT, DURING AND BETWEEN,

SEPTEMBER 1, 2016 AND OCTOBER 31, 2016, ANTONIO GUTIERREZ DID COMMIT THEFT BY

| BURPOSELY OBTAINING OR RETAINING PROPERTY OR MONBY WITH A VALUE OF $75,000,00 OR
MORE, BELONGING TO NEXTGRAR CAPITAL, UPON AGREEMENT OR SUBJECT TO A KNOWN LEGAL

OBLIGATION TO MAKE SPECIFIED PAYMENT OR OTHER DISPOSITION AND DID DEAL WITH SAID

PROPERTY OR MONEY AS HIS OWN AND DID PAIL TO MAKE THE REQUIRED PAYMENT OR

DISPOSITION; A VIOLATION OF N.J.5.A. 2C:20-9, A 2ND DEGREE CRIME.

WITHIN THE JURISDICTION OF THIS COURT, ON OR AROUT, DURING AND BETWEEN,
SEPTEMBER 1, 2016 AND OCTOBER 31, 2016, ANTONIO GUTIERREZ DID ENGAGE IN
TRANSACTIONS INVOLVING PROPERTY, NAMBLY MONIES (FUNDS) AND/OR UNITED STATES
CURRENCY IN EXCESS OF $500,000.00, KNOWN OR WHICH A REASONABLE PERSON WOULD
RELIEVE TO BE DERIVED FROM CRIMINAL ACTIVITY, NAMELY THE THEFT BY FAILURE TO
LANFUL DISPOSITION OF MONIES TO NEXTGEAR CAPITAL AND DEFRAUDING SECURED

MAKE
| _In violation of: : |
Orginal Charge i) 2C:20-95 % 20221-2585 (2) (A) 3) 40221-12
| Certification by Police Regarding Complaint-Summmons
J [certify hat | sarvad the complaint-summons by deliverlng a copy to the defendant personally,
mo certify that | personally served the complalnt-summans by leaving a
a copy at the defendant’s usual place of aboda with a competent
2 member of the household of the aga 14 or over __ _. _. _ Name of family member aver 14 years of age
I certify that | malled a copy of the ee by ordinary -
mall to the defendant at his or her last address.
_ Dofendant’s last known address
certify that | served the complalnt-summons by delivaring a copy Serer
{o a pprson authorized to recelve service of process on the
cefendant’s behalf. Name and Uie of aulhortzed =
Other manner of service: | certify that |eerved the complaint-summons
In the following manner;
~ "TT certify that Twas unable to serve the complaint-summons.
Signed: DANNY LIM BERGEN COUNTY PROSECUTORS OFF Date of Action; 01/17/2017
Name, Title and Ospartment of Oifcar
“RETURN OF SERVICE
INFORMATION

| eee itis argc

Page 4 of 7 * NuRODR A THnROt7
Sebieesebie att senil

Case 3:18-cv-01617-MEM Document 1-6 Filed 08/16/18 Page 9 of 12

S-2017-000025-0290 01/12/2017 2:07:41 PM Pg8of11 Trans ID: MCS201720244
on oh sent

RETURN OF SERVICE INFORMATION

COMPLAINT NUMBER STATE V.

| CREDITORS, WITH THE INTENT TO FACILITA
SO KNOWING THAT THE TRANSACTION WAS DESIGNED IN WHOLE OR IN PART TO CONCEAL OR

DISGUISE THE NATURE, LOCATION, SOURCE, OWNERSHIP OR CONTROL OF THE PROPERTY
DERIVED FROM CRIMINAL ACTIVITY, A VIOLATION OF N.dJ.S.A, 2C;:21-25B(a)A, A ist
DEGREH CRIME.

WITHIN THE JURISDICTION OF THIS COURT, ON OR ABOUT, DURING AND BETWEEN,
SEPTEMBER 1, 2016 AND OCTOBER 31, 2016, ANTONIQ GUTIERREZ DID DESTROY, RSMOVE,
CONCHAL, ENCUMBER, TRANSFER OR OTHERWISE DEAL WITH PROPERTY SUBJECT TO A
SECURITY INTEREST, NAMELY NEXTGEAR CAPITAL, WITH PURPOSE TO HINDER ENFORCEMENT
OF THAT INTEREST; A VIOLATION OF N.J.S.A, 2€:21-12, A 4TH DEGREE CRIME.

-0290 | $ | 2017 | 000025 ANTONIO L GUTIERREZ
im OR PROMOTE THU CRIMINAL ACTIVITY OR DID

| Original Charge ee |
| Amended Charge OO , t
=— ~ ~T” RETURN OF SERVICE INFORMATION

| . Page 4of7 NJCOR4 4872017

Case 3:18-cv-01617-MEM Document 1-6 Filed 08/16/18 Page 10 of 12

$-2017-000025-0280 0142/2017 2:07:41 PM Pg Bof ii Trans ID) MCS201720244

wy ak Netty teens, 5 A eg Ro »
Affidavit. of Probable Cause’.
oer ry oe a Bik, = woes
nt ‘opm 1 MUMBER: Prt as
xt eo) Toe ee ed THE STATE OF NEW JERSEY
290 ute SE ].4 : VS.
{OURY cena 7. we ss ANTONIO 1 GUTIERREZ
CENTRAL MUN CT BERGIN COUNTY ADORESS ;
71 HUDSON STREET 4003 82ND STREET, #1
HACKENSACK NJ 07601-0000
201-336-6232 __counTyoF: BERGEN | NORTH BERGEN Nod 07047-0000
GES TS a OEFENDANT INFORMATION — TL
Lb SEX: M EYECOLOR: BROWN poe: 02/04/1977
COMPLAINANT pasary Lo DRIVER'S LIC, #. G94830547302772 DLETATE: WW
NAME: 10 MAIN STREET SOCIAL SEQURITY & 136-889-3447 SAI:
Room 215 TELEPHONE #:
Ae wo 07601 LIVESCAN PON it:

Punpooe: This AtfidavitiCectifintion a ta mare fully describe the facta ofthe alleged offunss vo that « jude or authovisad Sudiele)offcas may Astamine |
pro aansa,

1. Deseription of relevant facte and circumstances which support probable cause
that (1) the offense(s) was committed and (2) the defendant ie the one who
committed it:

On or about, during and betwaen, September 1, 2016 and Octeber 31, 2016,
Antenio Gutierrez of Luxury Haus did commit money laundering, theft, and
defrauded secured creditors by borrowing money from NextGear Capital, a
dexier floor plan lender, to purchase vehicles which he sold and then did not
remit the proceeds as contracted, Mr. Gutierres sold the vehicles and took
the proceeds in excess of $1,000,000,00 and deposited them into various bank
accounts to hide the money, Mx. Gutierrez transferred $1,000,000.00 (which he
intended to utilize ag hie own) to Carmine Demaio, the owner of Lexus of
Englewood, to further hide the money that waa atolen from NextGear Capital.

aos ———— 4

Affidavit of Probable Gauge +

_| Pageiiiotz- +t

Case 3:18-cv-01617-MEM Document 1-6 Filed 08/16/18 Page 11 of 12

§-2017-000026-0290 01/12/2017 2:07:41 PM Pg 100f11 Trans ID; MCS201720244

ne a a SS

Affidavit of Probable Cause
fi "GOMPLAINT NUMBER, “THE STATE OF NEW JERSEY

0280 | s_| 2017 [000025 } saints oad

2. | am aware of the facts above because: (Included, but not limited to: your observations,statements
of eyewlinesses, defendant's admission, etc.)

During my investigation, I discovered the specific salea of vehicles

balonging to NextGear Capital and large amounts of money related to the sales
being transferred, Several suspicious depositea were then made to accounts not
ownad by Mr, Gutierres. As a result of interviews of account holders, Carmine
Demaio and Paul Gutierrez, it was learned that Nr. Gutierrez intended to hids

the mioney and uae it as his own. |

4. If victim was injuxed, provide the extent of the injury:

N/A

Certification:
I certify that the foregoing statements made by me are true. I am aware that if
any of the foreguing etatementa made by me are willfully falee, I am subject to

“punishment.
Signed; DANNY LIM LAW ENFORCEMENT OFFICER Date:

O1/17/202 Biro |

jPages of? W207 |

Case 3:18-cv-01617-MEM Document 1-6 Filed 08/16/18 Page 12 of 12

§-2017-000025-0290 01/12/2017 2:07:41PM Pg 11o0f11 Trans ID} MCS201720244

l eT a aac boas oes ME ig 6, Bae eS aes. ve
Ereliminary Law Enforcement Incident Report: |
1 e COMPLAN TRONS THE STATE OF NEW JERSEY
-s 2047. |" Vs
a ANTONIO L GUTIERREZ
71 MODSON STREET ner MOORES?) 003 B2ND STREET, #1
HACKENSACK NI 07601-0000
201-336-6222 counrror, BERGEN NORTH BERGEN Ng_ 07047-0000
Fol ghaRal TASER | OEFENDANT INFORMATION
"GOMPLAL ANN Seven Ut hemi ae oon TT is ny
NANT Sh, 2
NAME: 30 MAD, RENE BOOIAL BEOURITY # Geto «ss:
ROOM 2
HACKEWaACK My «607601 LIVESGAN PON __
lgnod to be appended to, and Ie iy | roied by

purpose: The Preliminary Law Enforcement Incident Report (PLEIR) lx dos! prassly noses
dio di int baale Int ton known to tha officer at the tho of Its preparation. | Is

xeoordad via(Stationhoves interview soon camera).

- The, defendant vou kis to the vintim aa otber/Explain Client.

1, dlacerd or di ny avid Bt vise Conceal proceeds of theft,

‘in detent pted to
and/ox p a da money.

- The case involved theft and/or stolen proparty. The property which was

Cortifeation;
| carthy that the foregoing statemneots inade by me are (rue, | am awore that any of the foregoing etatements mada by ma ara willfully folse, { win
01/17/2017

subject to punlahment
Signech DANNY LIM LAW ENFORCEMENT OFFICER Data!

* te Ae a Teal: * NN a ae
‘Prélirhinary Lavi EnfSteamant Ineident Report;
eee Up te tay ot ae i gaa

.

7 bho byt

ne. 7-of 7. "ONT |

—— a
